11/27/24,Case   2:22-cv-12951-JJCG-APP
         11:35 AM                                  ECF(74)No.
                                                           Sent147-29,     PageID.2868 Filed
                                                                | michaelbartnik@protonmail.com | Proton11/27/24
                                                                                                        Mail     Page 1 of 6

  RE: Babcock, et al. v State of Michigan, et al. - Defendant DWJBA's
  First Set of Discovery Requests to Plaintiffs Babcock and Maddox
  From     Michael Bartnik, Attorney <michaelbartnik@protonmail.com>

  To       Gregory N Longworth<glongworth@clarkhill.com>, Gaydos, Lisa<lgaydos@clarkhill.com>
  CC       Elizabeth Abdnour (liz@education-rights.com)<liz@education-rights.com>,
           Renee Stromski<renee@awlawohio.com>, Magy, Paul S.<pmagy@clarkhill.com>
  Date     Tuesday, October 15th, 2024 at 11:02 AM


  Lisa, et al:
  Forwarding the below, per Greg’s out of office until October 21, 2024 message.
  Thank you.
  MWB



  On Tue, Oct 15, 2024 at 10:57 AM, Michael Bartnik <michaelbartnik@protonmail.com> wrote:
       Thank you, we are finishing the final edits and anticipate delivering to you this afternoon the
       documents requested of both Jill Babcock and Marguerite Maddox and the Answers of Jill Babcock to
       Interrogatories. Marguerite Maddox’ Answers to Interrogatories are also being targeted for delivery
       today, though that item may not be complete until tomorrow.


       MWB



       On Tue, Oct 15, 2024 at 10:04 AM, Longworth, Gregory N. < glongworth@clarkhill.com> wrote:

          Michael:



          On August 19, 2024, DWJBA served on Plaintiffs Babcock and Maddox admission requests,
          interrogatories, and document requests. The answers to each were due on Sept. 18. On Sept. 11, you
          sent us an email requesting an additional three weeks—until Oct. 9—to respond to the discovery
          requests. Later that day, we responded that we were unwilling to agree to a three-week extension,
          laying out our reasons; instead, we agreed to a two-week extension—Oct. 2—with three conditions.
          Yet later that day, you requested that we agree to Oct. 4 as the due date. We reluctantly agreed to
          your request for the Oct. 4 date.




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                                                                | michaelbartnik@protonmail.com | Proton11/27/24
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          On Oct. 4, as agreed, you served Plaintiff Babcock’s and Maddox’s responses to the admission
          request, but failed to serve the responses on that date. Your email attaching admission responses
          (below) stated that the interrogatory answers and document-requests responses were not yet ready.
          You promised we would have them by Friday, Oct. 11, or Monday, Oct. 14, at the latest. We did not
          respond to that additional request, which would make the responses due later than your original
          three-week request, which we rejected as unacceptable.




          Now the Oct. 11 and 14 dates have passed and we still haven’t received the responses.




          If we don’t receive full and complete responses promptly, we will have no option but to file a motion
          to compel discovery.




          Gregory N. Longworth

          Attorney at Law


          Clark Hill

          200 Ottawa Avenue, NW, Suite 500, Grand Rapids, MI 49503


          +1 616.608.1104 (office) | +1 616.443.9942 (cell) | +1 616.608.1184 (fax)


          glongworth@clarkhill.com | www.clarkhill.com




          From: Michael Bartnik <michaelbartnik@protonmail.com>
          Sent: Friday, October 11, 2024 11:57 AM
          To: Bostice, Antoinette T. <abostice@clarkhill.com>; Magy, Paul S. <pmagy@clarkhill.com>;
          Longworth, Gregory N. <glongworth@clarkhill.com>
          Cc: nosej@detroitmi.gov; Albro, Lisa (AG) <albrol@michigan.gov>; Pendrick, Kimberly (AG)
          <pendrickk@michigan.gov>; Richards, Margaret (AG) <richardsm1@michigan.gov>; Drysdale-
          Crown, Cassandra (AG) <drysdalecrownc@michigan.gov>; Melvin B. Hollowell
          <mbh@millerlawpc.com>; E. Powell Miller <epm@millerlawpc.com>; jesse.halfon@detroitmi.gov;
          jjernigan@waynecounty.com; James Heath <jheath@waynecountymi.gov>; Angela L Baldwin
          <alb@millerlawpc.com>; García, Lawrence T. <Garcia@millercanfield.com>; Bierlein, Kyle
          <Bierlein@millercanfield.com>; Elizabeth Abdnour (liz@education-rights.com) <liz@education-
          rights.com>; Renee Stromski <renee@awlawohio.com>

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                                                                   | michaelbartnik@protonmail.com | Proton11/27/24
                                                                                                           Mail     Page 3 of 6
          Subject: Re: Babcock, et al. v State of Michigan, et al. - Defendant DWJBA's First Set of Discovery
          Requests to Plaintiffs Babcock and Maddox




          [External Message]


          Dear Paul and Greg,

          As predicted below, we anticipate having our remaining responses and objections to you Monday
          October 14, 2024.

          Thank you for your anticipated courtesy in this regard.




          Michael W. Bartnik

          Attorney at Law

          Law For Baby Boomers, PLLC

          LawForBabyBoomers.com

          MichaelBartnik@protonmail.com

          41000 Woodward Ave Ste 350

          Bloomfield Hills MI 48304

          (248) 608-3660

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          On Friday, October 4th, 2024 at 3:40 PM, Michael Bartnik <michaelbartnik@protonmail.com> wrote:


              Dear Paul and Greg, et al:

                      Attached are our Objections and Answers to your Requests for Admissions.
                      We are still preparing our objections and answers to the Interrogatories and to the
                      Request for Production, and we anticipate having those ready by next Friday, or the
                      following Monday.
                      Accordingly, we request a further extension of the deadline.
                      Please note, I have removed or added some email addresses above to make sure these
                      are going to the attorneys of record in this case: if I have omitted any in error, please let
                      me know.
                      Thank you.




              Michael W. Bartnik

              Attorney at Law

              Law For Baby Boomers, PLLC

              LawForBabyBoomers.com

              MichaelBartnik@protonmail.com

              41000 Woodward Ave Ste 350

              Bloomfield Hills MI 48304


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                 and destroy any printouts that you made. Thank you.




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              On Monday, August 19th, 2024 at 1:42 PM, Bostice, Antoinette T. <abostice@clarkhill.com>
              wrote:



                  Good Afternoon,



                  Attached please find Defendant Detroit-Wayne Joint Building Authority’s First Set of Discovery
                  Requests to Plaintiff Jill Babcock and Plaintiff Marguerite Maddox.

                  I have also attached these documents in Word format for your use.




https://mail.proton.me/u/0/sent/Y2XffFY_F7k5ZS8RcYbMjlP1YPXsVa-yELKpYIJx00uXF7iQrI5knbrEC9rIMYSEIixka73ah-sL0yI4Z2mNtw==#page=6   5/6
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                  Thank you and have a great day!

                  Antoinette Tyler

                  Legal Administrative Assistant

                  Clark Hill

                  220 Park Street, Suite 200, Birmingham, MI 48009

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                  1-36-863 (Internal)

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